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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

 HANS MOKE NIEMANN,                              )
                                                 )
           Plaintiff,                            )
                                                 )
           v.                                    )           Case No. 4:22-cv-01110-AGF
                                                 )
 SVEN MAGNUS OEN CARLSEN, et.                    )
 al.,                                            )
                                                 )
           Defendants.                           )

                                            ORDER

          This case is before the Court on the response of Defendant Chess.com, LLC

(“Chess.com”) to the Court’s January 19, 2023 order directing Chess.com to indicate

whether it still intended to file its corporate disclosures under seal. (Doc. No. 93). On

January 3, 2023, the Court ordered Chess.com to provide its corporate disclosure

pursuant to Federal Rule of Civil Procedure 7.1. (Doc. No. 74). However, as the Court is

not hearing this case on the basis of diversity jurisdiction, it also allowed Chess.com to

limit its disclosure statement to other Limited Liability Companies (“LLC”): Checkmate

Intermediate Holdings, LLC, and its sole member Chess Holdings, LLC (“HoldCo”). Id.

at 3-4.

          In Chess.com’s January 26, 2023 response to the Court’s order, it offers to limit its

disclosure statement to Checkmate Intermediate Holdings, LLC, and HoldCo. (Doc. No.

93). As this complies with the Court’s order at (Doc. No. 74), the Court accepts this

disclosure. Furthermore, Chess.com states that it does not intend to pursue its motion for


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leave to file under seal if this disclosure is sufficient. See (Doc. No. 67). The Court

therefore finds that this motion is now moot.

       Accordingly,

       IT IS HEREBY ORDERED that Defendant Chess.com, LLC’s may file its

proposed disclosure statement at (Doc. No. 93-1) on or before February 3, 2023.

       IT IS FURTHER ORDERED that Defendant Chess.com, LLC’s motion for

leave to file under seal, (Doc. No. 67), is DENIED as MOOT.




                                                ________________________________
                                                AUDREY G. FLEISSIG
                                                UNITED STATES DISTRICT JUDGE
Dated this 27th day of January, 2023.




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